                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                               COOKEVILLE DIVISION

LATISHA MEADOR,                          )
                                         )
                     Plaintiff,          )
                                         )
       v.                                )                    CASE NO.:2:19-cv-00027
                                         )                    JURY DEMAND
STANLEY BLACK & DECKER, INC.,            )
Individually and d/b/a DEWALT INDUSTRIAL )
TOOL CO., BLACK & DECKER (U.S.) INC, )
Individually and d/b/a DEWALT INDUSTRIAL )
TOOL CO., and DEWALT INDUSTRIAL          )
TOOL CO.,                                )
                                         )
                     Defendants.         )

              ANSWER OF DEFENDANTS STANLEY BLACK & DECKER, INC.
                       AND BLACK & DECKER (U.S.) INC.


       Defendants Stanley Black & Decker, Inc. and Black & Decker (U.S.) Inc. submit the

following answer to the complaint filed against them. The defendants would show that there is

no legal entity known as “Dewalt Industrial Tool Co.” as alleged in the complaint. “Dewalt

Industrial Tool Co.” is a trade name used by Black & Decker (U.S.) Inc.

                                  AFFIRMATIVE DEFENSES

       Without conceding the burden of proof as to any issue, defendants assert the following

affirmative defenses in order to preserve their right to assert the defenses at trial and avoid waiver

of any defenses.

                                         FIRST DEFENSE

       The plaintiff’s claims are barred by the applicable statutes of limitations and repose

including but not limited to T.C.A. § 29-28-103.




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                                       SECOND DEFENSE

       The percentage of comparative fault attributable to the plaintiff bars any recovery.

                                        THIRD DEFENSE

       The defendants are not responsible for any fault attributable to the plaintiff’s employer

Fleetwood Homes, any unknown co-workers or any unknown third parties whose identities, acts

and/or omissions may be revealed through discovery.

                                       FOURTH DEFENSE

       To the extent applicable, defendants rely upon the defense of misuse of the product and

unforeseeable or abnormal use and alteration of the product.

                                        FIFTH DEFENSE

       The defendants deny they owed any duty to the plaintiff.

                                         SIXTH DEFENSE

       The defendants rely upon the defendants’ compliance with applicable standards and the

state of the art if, in fact, either of the defendants manufactured, designed and/or sold the product

in question.

                                      SEVENTH DEFENSE

       The complaint fails to state a claim upon which some or all of the relief sought may be

granted including, but not limited to, the plaintiff’s Consumer Protection Act claims.

                                        EIGHTH DEFENSE

       The defendants rely on all defenses available under T.C.A. § 29-28-101, et seq.




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       ANSWERING THE NUMBERED PARAGRAPHS OF THE COMPLAINT, THE

DEFENDANTS STATE AS FOLLOWS:

       1.      The defendants have insufficient information to form a belief as to the truth of the

averments of this paragraph and therefore neither admit nor deny the same.

       2.      It is admitted that Stanley Black & Decker, Inc. does design, manufacture,

inspect, test, distribute, market and sell tools for woodworking; however, Stanley Black &

Decker, Inc. does not manufacture, design, inspect, test, distribute, market or sell any DeWalt

miter saws. The averments pertaining to this defendant’s agent for service of process are

admitted.

       3.      It is admitted that Black & Decker (U.S.) Inc. does design, manufacture, inspect,

test, distribute, market and sell tools for woodworking including DeWalt miter saws. However,

the defendants have insufficient information to form a belief as to whether the saw referred to in

the complaint is a DeWalt saw or whether Black & Decker (U.S.) Inc. was involved in any

connection with the manufacture or sale of the saw. The averments pertaining to this defendant’s

agent for service of process are admitted.

       4.      Denied.

       5.      Any responses hereinafter on behalf of “defendants” are responses on behalf of

Stanley Black & Decker, Inc. and Black & Decker (U.S.) Inc. There is no legal entity known as

“Dewalt Industrial Tool Co.” as alleged in the complaint.

       6.      It is admitted that jurisdiction and venue are proper in the U.S. District Court

based on the allegations of the complaint. The defendants have insufficient information to form

a belief as to the truth of the remaining factual averments of this paragraph and therefore neither


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admit nor deny the same. The defendants deny manufacturing or placing into the stream of

commerce any dangerous or defective product.

       7-9.    The defendants have insufficient information to form a belief as to the truth of the

averments of these paragraphs and therefore neither admit nor deny the same.

       10-19. The defendants have insufficient information to form a belief as to the truth of the

factual averments of these paragraphs and therefore neither admit nor deny the same. The

defendants deny manufacturing or placing into the stream of commerce any dangerous or

defective product. The defendants deny that the product in question failed, malfunctioned or

failed to function properly as a result of any act or omission on their parts.

       20-21. The defendants have insufficient information to form a belief as to the truth of the

factual averments of these paragraphs and therefore neither admit nor deny the same.

       22-24. Stanley Black & Decker, Inc. does design, manufacture, inspect, test, distribute,

market and sell tools for woodworking; however, Stanley Black & Decker, Inc. does not

manufacture, design, inspect, test, distribute, market or sell any DeWalt miter saws. Black &

Decker (U.S.) Inc. does design, manufacture, inspect, test, distribute, market and sell tools for

woodworking including DeWalt miter saws. However, the defendants have insufficient

information to form a belief as to whether the saw referred to in the complaint is a DeWalt saw

or whether Black & Decker (U.S.) Inc. was involved in any connection with the manufacture or

sale of the saw. The defendants deny that these paragraphs contain complete and accurate

statements of any duties they may have owed and because the source of the saw in question is

unknown, neither admit nor deny the same.

       25-27. Denied.


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       28-29. The defendants have insufficient information to form a belief as to the truth of the

factual averments of these paragraphs and therefore neither admit nor deny the same.

       30.     Stanley Black & Decker, Inc. does design, manufacture, inspect, test, distribute,

market and sell tools for woodworking; however, Stanley Black & Decker, Inc. does not

manufacture, design, inspect, test, distribute, market or sell any DeWalt miter saws. Black &

Decker (U.S.) Inc. does design, manufacture, inspect, test, distribute, market and sell tools for

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information to form a belief as to whether the saw referred to in the complaint is a DeWalt saw

or whether Black & Decker (U.S.) Inc. was involved in any connection with the manufacture or

sale of the saw. The defendants deny that these paragraphs contain complete and accurate

statements of any duties they may have owed and because the source of the saw in question is

unknown, neither admit nor deny the same.

       31.     Denied.

       32.     The defendants have insufficient information to form a belief as to the truth of the

factual averments of this paragraph including whether either defendant manufactured or sold the

product in question and, therefore, neither admit nor deny the same.

       33.     The defendants have insufficient information to form a belief as to the truth of the

factual averments of this paragraph including whether either defendant manufactured or sold the

product in question and, therefore, neither admit nor deny the same.

       34.     Denied.

       35-37. Stanley Black & Decker, Inc. does design, manufacture, inspect, test, distribute,

market and sell tools for woodworking; however, Stanley Black & Decker, Inc. does not


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manufacture, design, inspect, test, distribute, market or sell any DeWalt miter saws. Black &

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sale of the saw. The defendants deny that these paragraphs contain complete and accurate

statements of any duties they may have owed and because the source of the saw in question is

unknown, neither admit nor deny the same.

       38-42. Denied.

       43-46. The defendants have insufficient information to form a belief as to the truth of the

factual averments of these paragraphs including whether either defendant manufactured or sold

the product in question and, therefore, neither admit nor deny the same.

       47-48. Denied.

       49.     Denied.

       50-52. The defendants have insufficient information to form a belief as to the truth of the

factual averments of these paragraphs and therefore neither admit nor deny the same.

       53-58. Denied.

       Defendants deny they are liable to plaintiff in any amount under any theory. Defendants

demand a jury of the maximum number of jurors permissible.




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                                                        /s/ William B. Jakes, III
                                                       WILLIAM B. JAKES, III, #10247
                                                       HOWELL & FISHER, PLLC
                                                       3310 West End Avenue, Suite 550
                                                       Nashville, Tennessee 372030
                                                       (615) 244-3370
                                                       Attorneys for Defendants Stanley Black &
                                                       Decker, Inc. and Black & Decker (U.S.) Inc.




                                  CERTIFICATE OF SERVICE

       I certify that on April 2, 2019, a copy of the foregoing was filed electronically. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may

access this filing through the Court’s electronic filing system.

David J. Weissman
Raybin & Weissman, PC
Fifth Third Center
424 Church Street, Suite 2120
Nashville, TN 37219
dweissman@nashvilletnlaw.com


                                                       /s/ William B. Jakes, III
                                                       WILLIAM B. JAKES, III




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